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                            Declaration of
                       Elizabeth McNamara
                               Exhibit 40
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